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                UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


BOBBY LEE ANGLIN,
    Plaintiff,

vs.                                          Case No.: 3:22cv805/LAC/EMT

ESCAMBIA COUNTY JAIL, et al.,
     Defendants.
_____________________________/

                                     ORDER

      The chief magistrate judge issued a Report and Recommendation on April 25,

2022 (ECF No. 7). The court furnished the plaintiff a copy of the Report and

Recommendation and afforded an opportunity to file objections pursuant to Title 28,

United States Code, Section 636(b)(1). No objections have been filed.

      Having considered the Report and Recommendation, I have determined the

Report and Recommendation should be adopted.

      Accordingly, it is ORDERED:

      1.     The chief magistrate judge’s Report and Recommendation (ECF No. 7)

is adopted and incorporated by reference in this order.

      2.     This case is DISMISSED without prejudice for Plaintiff’s failure to

comply with an order of the court.
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       3.     The clerk of court is directed to enter judgment in accordance with this

order and close the case.

       DONE AND ORDERED this 31st day of May, 2022.




                                 s /L.A. Collier
                                 LACEY A. COLLIER
                                 SENIOR UNITED STATES DISTRICT JUDGE




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